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                     DECLARATION OF MARILYN MARKS

      MARILYN MARKS hereby declares under penalty of perjury, pursuant to

28 U.S.C. (s) 1746, that the following is true and correct:

      1.       My name is Marilyn Marks

      2.       I am the Executive Director of Coalition for Good Governance

(“Coalition”).

      3.       I have personal knowledge of all facts stated in this declaration, and if

called to testify, I would testify competently thereto.

      4.       This declaration includes a number of subject matters and documents

related to the conduct of Georgia’s elections using the Dominion Voting System,

particularly during the June 9, 2020 election and the August 20, 2020 related

runoff.

      Logic and Accuracy Testing Data

      5.       The conduct of logic and accuracy tests (“LAT”) is governed by

O.C.G.A. 21-2-379.25(c), and requires that the superintendent shall have “each

electronic ballot marker tested to ascertain that it will correctly record the votes

cast for all offices and on all questions.”

      6.       However, the Secretary of State’s LAT testing manual dated January

2020 (Martin Declaration Exhibit 1 Section D p. 4) sets out a less extensive test

than the above referenced statute. The reduced testing instructions call for at least 1

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vote be tested for each candidate in the group of BMDs going to a single polling

place. Quoting from page 4:

       “Example: Ballot from BMD 1 contains a vote for only the first
      candidate in each race listed on Ballot Style 1, Ballot from BMD 2
      contains a vote only for the second candidate in each race on Ballot
      Style 1, and continue through the line of devices until all candidates in
      all races within the unique ballot style have received a single vote.”

      7.     Under my direction, Coalition analysts undertook observation and

testing to determine whether the counties BMD LAT testing was being conducted

in accordance with the statutory requirements.

      8.     Coalition for Good Governance analyst Samantha Whitley, working

under my supervision, reviewed the LAT ballots for the Blackrock precinct in

Fayette County and the West Ridge Church precinct in Paulding County in the

June 9, 2020 election. The test ballots had been received in response to document

subpoenas issued to those counties. Ms. Whitley summarized her findings in an

email to me dated August 24, 2020 and a true and correct copy is attached as

Exhibit 1.

      9.     Ms. Whitley’s summary shows that for the sample precinct of

Blackrock, 320 test ballots should have been generated and scanned if all

candidates were tested in the two ballots styles on all BMD machines, but only 32

test ballots were generated. In Paulding County’s West Ridge Church precinct, 528




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test ballots should have been generated and scanned, but only 37 test ballots were

generated.

      10.    I assigned Coalition interns and volunteers to observe Fulton County’s

pre-August 11 runoff Logic and Accuracy Testing. After nearly a dozen failed

attempts by Coalition representatives to find any meaningful Fulton County Logic

and Accuracy Testing occurring during the publicly stated testing period for the

August 11, 2020 election, I became concerned that this very time-consuming LAT

was being truncated in an unauthorized manner.

      11.    I have both participated in and observed LAT activities, and

understand from my personal experience that extensive time is required to test a

large volume of equipment. It seemed very odd to me that we could not locate

much live testing in Fulton County, given the extensive number of hours required.

      12.    I had estimated that using a minimum time of 15 minutes per BMD

deployed, Fulton would need to spend approximately 775 technician hours to

conduct LAT on its 3,100 BMD for standard use for each election. Yet we could

not locate any meaningful amount of work being done on LAT activities as the

election approached.


      13.    The requirement from the procedure manual obviously involves

considerably less testing than required by the statute, O.C.G.A. §21-2-379.25. I



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surmised that this sharply reduced testing may be the reason that we could not

locate LAT being conducted in Fulton County.

      14.       The confirmation of Fulton’s sharp reduction in pre-election testing

of BMDs is expected to be provided in pending discovery when the LAT ballots

are produced for inspection.

    Other Irregularities

      15.      Attached as Exhibit 2 is a true and correct copy of an email from

Cherokee County voting system technician Johnathan Densmore dated May 21,

2020 regarding the ability for one voter to print and cast multiple live ballots. The

email was obtained from a response to a subpoena to Cherokee County elections

office.

      16.      Mr. Densmore of Cherokee County stated to me on a telephone call

that he still uses the same usb stick with the new Dominion system that he used for

the GEMS system, and transfers data to the web-enabled server with the usb stick.

He later sent me a picture of that usb stick by email.

      17.       Attached at Exhibit 3 contains 4 examples of unadjudicated ballot

images from Fulton County’s August 11 election obtained in discovery in Fulton

County’s production of records. They show “Blank Contest” in the AuditMark cast

vote record attached to the image although the image clearly shows a detectable

vote for candidates.


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      18.    Attached at Exhibit 4 is a true and correct copy of a letter from

Cherokee County’s counsel Ann Brumbaugh in response to Coalition’s subpoena

to Cherokee County elections office stating in paragraphs 10 and 11 that there are

no responsive documents to our specific requests. Such request related to Secretary

of State instruction for procedures to maintain air-gapping of the Dominion server.



      Executed this 24th day of August, 2020



      _____________________________
      Marilyn Marks




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                                  LAT Test Ballot Memo- Fayette and Paulding

        It is my understanding that for a complete Logic and Accuracy Testing, each election on every

race and each question must be tested for each BMD in all the precincts. Undervote (blank vote) should

also be tested for every race on every machine. I analyzed the LAT records Paulding County provided

in their subpoena. Specifically, I analyzed West Ridge Church. Paulding County provided 37 test

ballots. According to the ballot recap sheets provided in record 17, West Ridge Church had 12 BMDs

on election day. All three ballot types: Republican, Democrat, and Nonpartisan should be tested in

addition to the two different elections: Presidential Preference Primary + Primary or just the Primary.

       The largest race on the Democrat ballot was President with 12 candidates. The largest race on

the Republican ballot was US House district 14 with 9 candidates. The largest race on the Nonpartisan

ballot was 2. Taking into account testing for an undervote, all 12 machines should be tested at least 13

times producing 156 Democrat ballots, 10 times producing 120 Republican ballots, and 3 times

producing 36 Nonpartisan ballots. Then, for the Republican and Democrat ballots both ballot styles

(with and without the Presidential Primary) should be tested. For just the Primary, the largest Democrat

race is US Senate with 7 candidates, Republican remains 9, and Nonpartisan remains 3. This totals to be

96 Democrat primary ballots (12x8), 120 Republican primary ballots, and 36 Nonpartisan. This would

mean if Logic and Accuracy Testing was properly done there should be 252 Democrat ballots (96+156),

240 Republican ballots (120+120), and 72 Nonpartisan ballots (36+36)- 528 test ballots in total.

Paulding county provided only 37 ballots.

     I analyzed the LATs Fayette county provided in their subpoena (Record 5- Precinct LAT Ballots).

Specifically, I analyzed Precinct 1- Blackrock’s LAT ballots. Fayette County provided 32 ballots, of

which 25 were Democrat and 7 were Republican. Every ballot provided was a combined PPP/primary

ballot. According to the LAT Checklist provided, 10 BMDs were to be tested for the Blackrock

precinct. All three ballot types: Republican, Democrat, and Nonpartisan should be tested in addition to

the two different elections: Presidential Preference Primary + Primary or just the Primary. Only


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Democrat and Republican ballots were provided; therefore, I can assume they did not test any

Nonpartisan ballots. Only Presidential Preference Primary + Primary ballots were provided; therefore, I

can assume they did not test any Primary ballots.

        The largest race on the Democrat ballot was President with 12 candidates. The largest race on

the Republican ballot was 3 candidates. The largest race on the Nonpartisan ballot was 2 candidates.

Also testing for an undervote, all 10 machines should be tested at least 13 times producing 130

Democrat ballots, 4 times producing 40 Republican ballots, and 3 times producing 30 Nonpartisan

ballots. If Logic and Accuracy Testing was properly done there should be 130 Democrat ballots, 40

Republican ballots, and 30 Nonpartisan ballots- 200 test ballots in total. Fayette county only produced

32 ballots. Either not every machine was tested or if every machine was tested, they certainly were not

tested for every race on all three ballot styles.

        In addition, there were no non-Presidential Preference Primary ballots for all ballot styles. For

the Primary ballot, the largest Democrat race would be US Senate with 7 candidates. The Republican

and Nonpartisan numbers would remain the same. This would equal 80 Democrat ballots, 40

Republican ballots, and 30 Nonpartisan ballots- 150 test Primary ballots in total. Therefore, Fayette

county should have provided 320 test ballots in total for the Blackrock precinct. They produced only

32.




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■                                                                    FULTON COUNTY                                                                                                    ■
■                                                                                     858-09K                                                                                         ■
■               OFFICIAL ABSENTEE/PROVISIONAUEMERGENCY BALLOT                                                                                                                         ■
■                                      OFFICIAL DEMOCRATIC PARTY PRIMARY AND
                                                                                                                                                                                      ■
■                                   NONPARTISAN GENERAL ELECTION RUNOFF BALLOT                                                                                                        ■
■                                              OF THE STATE OF GEORGIA                                                                                                                ■
■                                                   AUGUST 11, 2020                                                                                                                   ■
■   To vote, blacken the Oval (e) next to the candidate of your choice. To vote for a person whose name is not on the ballot, manually WRITE his or her                               ■
■   name in the write-in section and blacken the Oval (el next to the write-in section. If you desire to vote YES or NO for a PROPOSED QUESTION,
    blacken the corresponding Oval (e). Use only blue or black pen or pencil.                                                                                                         ■
■   Do not vote for more candidates than the number allowed for each specific office. Do not cross out or erase. If you erase or make other marks on the                              ■
■   ballot or tear the ballot, your vote may not count.
                                                                                                                                                                                      ■
■   If you change your mind or make a mistake, you may return the ballot by writing 'Spoiled" aaoss the face of the ballot and return envelope. You may
    then mail the spoiled ballot back to your county board of registrars, and you will be issued another official absentee ballot. Alternatively, you may
                                                                                                                                                                                      ■
■   surrender the ballot to the poll manager of an ea�y voting site within your county or the precinct to which you are assigned. You will then be permitted to                       ■
■
    vote a regular ballot.
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■           For District Attorney of the                               NONPARTISAN                                                                                                    ■
■            Atlanta Judlclal Circuit                                GENERAL ELECTION                                                                                                 ■
■                      (Vote for One)                                    RUNOFF                                                                                                       ■
■    0     Paul Howard                                             For Judge, Superior Court of the                                                                                   ■
■          (Incumbent)                                                  Atlanta Judicial Circuit
                                                                                                                                                                                      ■
■    <J!
                                                                     (To Succeed Constance C. Russell)
                                                                                                                                                                                      ■
■                                                                                                                                                                                     ■
           Fanl WIiiis                                                        (Vote for One)
                                                                0     Melynee Leftridge Harris

■                       For Sheriff                                                                                                                                                   ■
■                      (Vote for One)                           0 Tamika Hrobowlkl-Houston                                                                                            ■
■    <Ji                                                                                                                                                                              ■
                                                                                                                                                                                      ■
           Theodore "Ted" Jackson

■          (Incumbent)

■    O     Patrick "Pat" Labat                                                                                                                                                        ■
■                                                                                                                                                                                     ■
■                                                                                                                                                                                     ■
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3. An electronic copy (scan or digital printout) of the BMD test ballots used in the
Logic and Accuracy Testing for the June 9, 2020 election. Cherokee County
BOER does not have any responsive documents.

4. A copy of the test script used for the BMD Logic & Accuracy Testing for the
June 9, 2020 election, showing the choices entered on each touchscreen during the
testing. Cherokee County BOER does not have any responsive documents.

5. Instructions on guidance from the Secretary of State's office with respect to
conducting Logic & Accuracy Testing.

      a. "Secure the Vote" Logic & Accuracy Procedures, attached.
      b. May 6, 2020 email correspondence between Michael Barnes and
      Jonathan Densmore, attached.

6. Documents from the Georgia Secretary of State or Dominion regarding
adjudication software including the threshold settings and instructions for Vote
Review Panels to adjudicate ballot marks.

      a. Thumb drive with videos, provided via Fedex.
      b. "Early Scanning & Adjudication Absentee Ballots," attached.

7. Copy of oaths taken by members of the Ballot Review Panel, personnel assigned
to mail ballot scanning, corifidentiality agreements or oaths sworn by Dominion
technician assigned to Cherokee County.

      a. Copy of oaths taken by members of Ballot Review Panel, attached.
      b. Copy of oaths taken by personnel assigned to mail ballot scanning,
      attached.
      c. Cherokee County BOER does not possess an oaths or confidentiality
      agreements sworn by Dominion technician.

8. Documentation or reports relating to the ability to issue multiple voter access
cards and electronic ballots to the same voter during one election. Cherokee
County BOER does not have any responsive documents.

9. Documentation, communication, or reports relating to the ability for a voter to
print and cast multiple BMD ballots.
                                                                                  Exhibit 4


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